                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                 3:00CR147MU

UNITED STATES OF AMERICA            )
                                    )
vs.                                 )
                                    )                     ORDER
MOHAMAD YOUSSEF HAMMOUD             )
CHAWKI YOUSEF HAMMOUD               )
ANGELA GEORGIA TSIOUMAS             )
____________________________________)

        This matter is before the court upon the pro se Petitioner Moussa Hammoud’s motion for
extension of time to respond to the government’s Motion to Dismiss. For good cause shown,
petitioner’s motion is granted and petitioner may have an additional twenty (20) days from the
date of entry of this Order to respond to the government’s motion.




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                         Signed: August 9, 2005




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